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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                               ENTERED
 COURTROOM MINUTES- ORDER                                             September 20, 2023
 JUDGE SAM SHELDON PRESIDING                                           Nathan Ochsner, Clerk
 DATE: September 20, 2023
 COURT REPORTER: ____
 MORNING: ___________ AFTERNOON:
 ***************************************************************************
                            CIVIL NO: 4:22cv452

Nanik Bhagia,


      Plaintiff




PHH Mortgage Services, Inc.



      Defendant




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 MINUTE ENTRY ORDER:

 On July 28, 2023, Defendant filed a Motion for Summary Judgment. (Dkt. No. 33.) Plaintiffs’
 response was due on or before August 18, 2023. On August 17, 2023, Plaintiffs filed a Motion
 for Extension of Time to Respond to Defendant’s Motion for Summary Judgment. (Dkt. No.
 34.) The Court granted Plaintiffs’ Motion for Extension of Time on August 21, 2023. (Dkt.
 No. 35.) Per the Court’s Order, Plaintiffs’ deadline to respond was extended to August 24,
 2023. (Dkt. No. 35.) On September 12, 2023, Defendant filed a Notice of No Response to
 Defendant’s Motion for Summary Judgment. (Dkt. No. 36.) As of the date of this Order,
 Plaintiffs have failed to file a response. It is ORDERED that Plaintiffs file a response to
 Defendant's Motion for Summary Judgment by September 27, 2023.
      SIGNED in Houston, Texas, the 20th of September, 2023.




                                                          ___________________________________
                                                                       Sam Sheldon
                                                            United States Magistrate Judge
